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              10                                                    and DAVID FARMER
                       Attorneys for Plaintiffs
              11

              12                                    UNITED STATES DISTRICT COURT
              13
                                               NORTHERN DISTRICT OF CALIFORNIA
              14
                       JEFFREY BERK, et al.,                        Case No.: 18-cv-01364-VC
              15
                                      Plaintiffs,                   THIRD JOINT CASE MANAGEMENT
              16                                                    STATEMENT
                       vs.
              17
                                                                    Date: June 12, 2019
              18       COINBASE, INC., et al.,                      Time: 10:00 a.m.

              19                      Defendants.                   Judge: Hon. Vince Chhabria
                                                                    Ctrm: 4, 17th Floor
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                       JOINT CASE MANAGEMENT STATEMENT
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                 1            The parties jointly submit this Subsequent Case Management Statement in advance of

                 2     the upcoming June 12, 2019 Case Management Conference.              The parties have previously

                 3     submitted a full Joint Case Management Statement, see Dkt. 28, as well as a supplemental

                 4     Second Joint Case Management Statement, see Dkt. 69. Pursuant to Local Rule 16-10(d), the

                 5     parties will focus this statement only on “progress or changes since the last statement was filed”

                 6     and “proposals for the remainder of the case development process.”

                 7     1.     Amendment of Pleadings
                 8            Plaintiffs requested that in the event the Court dismisses the Second Amended Class

                 9     Action Complaint (“SAC”), they be granted leave to amend within 30 days.

              10              Defendants do not believe that Plaintiffs need yet another opportunity to amend (they

              11       have already filed three different versions of their complaint). However, if the Court denies

              12       both of Defendants’ pending motions and is inclined to permit further amendment, Defendants

              13       propose that the deadline for such amendment be fourteen days after the Court issues its order

              14       on the motions.

              15       2.     Discovery
              16              A.      Plaintiffs’ Position
              17              Plaintiffs served a set of requests for production of documents (the “First RFPs”) and

              18       interrogatories (the “First Interrogatories”) on Defendants on May 10, 2018, and a second set of
              19       requests for production of documents (the “Second RFPs”), and interrogatories (the “Second

              20       Interrogatories”) on October 24, 2018. Defendants have responded and made limited document

              21       productions. The parties have exchanged extensive correspondence concerning the adequacy of

              22       Defendants’ responses to Plaintiffs’ discovery requests and have engaged in at least one

              23       extensive telephonic meet and confer. Although the parties have agreed upon certain

              24       compromises, Plaintiffs believe that certain responsive documents remain outstanding.

              25       Plaintiffs intend to serve further discovery. If the parties cannot resolve any outstanding issues,

              26       the parties will file a joint letter brief in accordance with the Court’s Standing Order for Civil

              27       Cases (“Standing Order”).

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                 1              B.      Defendants’ Position
                 2              Defendants have already gone to significant lengths to provide early discovery to

                 3     Plaintiffs—including responses to no fewer than 27 RFPs and 12 interrogatories— even before
                 4
                       Plaintiffs have settled on a theory of the case. However, as Plaintiffs have recognized, it does
                 5
                       not make sense to conduct additional discovery, or to burden the Court with unnecessary
                 6
                       discovery disputes, until the pending motions (to dismiss and to compel arbitration) have been
                 7
                       resolved. As such, the parties have stipulated to a stay of all discovery pending resolution of
                 8

                 9     those motions. See Dkt. 68 at 11–13 (“Plaintiffs will agree to forgo further discovery and to

              10       suspend any efforts at obtaining more discovery until the Court rules upon the Motions and the
              11       scope of the Action is clarified.”). That stipulation continues to make sense.
              12
                       3.       Class Actions
              13
                                The parties address the issue of how and when a class will be certified in the Schedule
              14
                       below.
              15
                       4.       Settlement and ADR
              16
                                The parties remain willing to discuss potential mediation or other forms of ADR after
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                       the resolution of the Motions.
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                       5.       Scheduling
              19
                                A.      Plaintiffs’ Position
              20
                                Plaintiffs’ proposed schedule is attached hereto as Appendix A.
              21                Defendants’ statement below falsely represents that Plaintiffs “refused to cooperate”
              22       with Defendants’ procedure for developing a schedule. Rather, Plaintiffs insisted on presenting
              23       a schedule in this CMS because the Court’s rules require it. The only thing Plaintiffs refused to
              24       cooperate on was withholding proposed schedules from the Court at this juncture. Moreover,
              25       the schedule proposed by Plaintiffs is essentially the same schedule Defendants stipulated to
              26       previously [Dkt. No. 40], just bumped out by about 10 months to reflect the time spent on the
              27       last round of motions.
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                 1            B.      Defendants’ Position
                 2            When the parties submitted a case management statement four weeks ago, plaintiffs

                 3     proposed the following language: “The parties believe that it is premature to set forth any

                 4     schedule at this stage of the Action until resolution of the [pending motions to dismiss and to

                 5     compel arbitration.” Defendants agreed. See Dkt. 68 at ¶¶ 8, 11. Since then, Plaintiffs appear

                 6     to have had a change of heart and have demanded that the parties propose case schedules even

                 7     before the Court rules on the pending motions. Defendants believe that it would make more

                 8     sense for the parties to meet and confer about a schedule—and submit a joint proposal—

                 9     within 14 days of any order on the pending motions. Plaintiffs have refused to cooperate with

              10       this proposal. As a result, Defendants now submit a proposed case schedule, which is attached

              11       hereto as Appendix B.

              12              On a separate note, Plaintiffs’ claim that Defendants previously stipulated to a similar
              13       version of their proposed schedule is incorrect. As merely one example, Defendants did not and
              14       would not stipulate to a proposed schedule that extends fact discovery out beyond expert
              15       discovery, or which allows the parties to continue conducting “class-certification discovery”
              16       even after Defendants oppose any class-certification motion.
              17

              18
                       DATED: June 5, 2019                            GREEN & NOBLIN, P.C.
              19

              20                                                By:     /s/ Robert S. Green
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              28                                                      Attorneys for Plaintiffs
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                 1

                 2     DATED: June 5, 2019                          KEKER, VAN NEST & PETERS, LLP
                 3

                 4                                                  By:     /s/ Steven P. Ragland
                                                                               STEVEN P. RAGLAND
                 5
                                                                    Steven P. Ragland
                 6                                                  Benjamin Berkowitz
                                                                    Erin E. Meyer
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              14                                                    Attorneys for Defendants
                                                                    COINBASE, INC., BRIAN ARMSTRONG
              15
                                                                    And DAVID FARMER
              16
                                                              ATTESTATION
              17
                              I hereby attest that I have obtained concurrence in the filing of this document from each
              18
                       of the other persons whose signatures are indicated by a conformed signature (/S/) within this e-
              19
                       filed document.
              20

              21
                       DATED: June 5, 2019                                   /s/ Robert S. Green
              22                                                             Robert S. Green

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                 1                    APPENDIX A: PLAINTIFFS’ PROPOSED SCHEDULE
                 2
                       Event                                                 Date/Deadline
                 3
                       Deadline to Amend Pleadings                           August 22, 2019
                 4
                       Merits Experts: Opening Reports                       April 6, 2020
                 5
                                      Rebuttal Reports                       May 4, 2020
                 6
                       Merits Expert Discovery Completed by                  May 25, 2020
                 7
                       Fact Discovery Cutoff                                 June 15, 2020
                 8
                       Deadline to File Dispositive Motions                  June 22, 2020
                 9
                       Deadline to File Oppositions to Dispositive Motions   July 13, 2020
              10
                       Deadline to File Replies ISO Dispositive Motions      July 27, 2020
              11
                       Hearing on Dispositive Motions                        August 13, 2020 at 10 a.m.
              12
                       Deadline to File Class Cert. Motion                   August 24, 2020
              13

              14       Deadline to File Opposition to Class Cert. Motion     September 14, 2020

              15       Class Cert. Expert Discovery Cutoff                   September 28, 2020
                       Deadline to File Reply ISO Class Cert. Motion
              16
                       Hearing on Class Certification Motion                 October 8, 2020 at 10 a.m.
              17
                       Pretrial Conference                                   January 18, 2021
              18
                                                                             at 1:30 p.m.
              19
                       Trial                                                 February 16, 2021
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                 1                    APPENDIX B: DEFENDANTS’ PROPOSED SCHEDULE
                 2
                       Event                                                     Date/Deadline
                 3
                       Deadline to Amend Pleadings                               + 14 days after order on Motions
                 4
                       All Fact Discovery Completed by                           December 13, 2019
                 5
                       Experts: Opening reports on issues on which party bears   February 21, 2020
                 6     the burden of proof

                 7     Experts: Rebuttal Reports                                 March 13, 2020

                 8     All Expert Discovery Completed by                         April 3, 2020
                 9     Deadline to File Class Cert. Motion                       April 30, 2020
              10       Deadline to File Opposition to Class Cert. Motion         May 28, 2020
              11       Deadline to File Reply ISO Class Cert. Motion             June 11, 2020
              12       Hearing on Class Certification Motion                     June 25, 2020 at 10am
              13       Deadline to File Dispositive Motions                      July 30, 2020
              14
                       Deadline to File Oppositions to Dispositive Motions       August 20, 2020
              15
                       Deadline to File Replies ISO Dispositive Motions          September 3, 2020
              16
                       Hearing on Dispositive Motions                            September 17, 2020 at 10am
              17
                       Joint Pretrial Conference Statement                       December 18, 2020
              18
                       Pretrial Conference                                       January 18, 2021 at 1:30pm
              19
                       Trial                                                     February 16, 2021
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